CASE 0:24-cv-01743-JMB-DTS   Doc. 49-11   Filed 11/22/24   Page 1 of 39




                 EXHIBIT 10
      CASE 0:24-cv-01743-JMB-DTS   Doc. 49-11   Filed 11/22/24   Page 2 of 39




October 2024 | OEI-03-23-00380
Medicare Advantage:
Questionable Use of Health Risk
Assessments Continues To Drive Up
Payments to Plans by Billions




                             OIG.HHS.GOV
             CASE 0:24-cv-01743-JMB-DTS                 Doc. 49-11        Filed 11/22/24       Page 3 of 39




October 2024 | OEI-03-23-00380

Medicare Advantage: Questionable Use of Health Risk Assessments
Continues To Drive Up Payments to Plans by Billions
Why OIG Did This Review
•   Medicare Advantage (MA) companies receive higher risk-adjusted payments from CMS for enrollees who are sicker,
    which helps to ensure that plans receive sufficient payment to cover more costly care and enrollees have continued
    access to MA plans. However, taxpayers fund billions of dollars in overpayments to MA companies each year based on
    unsupported diagnoses for MA enrollees. Unsupported diagnoses inflate risk-adjusted payments and drive improper
    payments in the MA program.
•   Using 2016 MA encounter data, prior OIG work identified two sources of enrollee diagnoses—health risk assessments
    (HRAs) and chart reviews—as vulnerable to misuse by MA companies. This evaluation updates that work and
    determines whether vulnerabilities persist regarding the appropriateness of resulting risk-adjusted payments and the
    quality of care for enrollees with diagnoses reported only on HRAs and on no other records of services (i.e., service
    records) in the 2022 MA encounter data. This evaluation also newly examines the extent to which MA companies use
    chart reviews of information gathered as part of HRAs to add diagnoses that increase their risk-adjusted payment
    (HRA-linked chart reviews).

What OIG Found
    Diagnoses reported only on enrollees’ HRAs and HRA-linked chart reviews, and not on any other 2022 service
    records, resulted in an estimated $7.5 billion in MA risk-adjusted payments for 2023. The lack of any other
    followup visits, procedures, tests, or supplies for these diagnoses in the MA encounter data for 1.7 million MA enrollees
    raises concerns that either: (1) the diagnoses are inaccurate and thus the payments are improper or
    (2) enrollees did not receive needed care for serious conditions reported only on HRAs or HRA-linked chart reviews.

    In-home HRAs and HRA-linked chart reviews generated almost
    two-thirds of the estimated $7.5 billion in risk-adjusted payments.
    In-home HRAs and HRA-linked chart reviews may be more
    vulnerable to misuse because these tools are often administered by
    MA companies or their third-party vendors and not enrollees’ own
    providers. Diagnoses reported only on these types of records
    heighten concerns about the validity of the diagnoses or the
    coordination of care for MA enrollees.

    Just 20 MA companies drove 80 percent of the estimated $7.5 billion in payments. Also, these MA companies
    generated a substantially greater share of payments resulting from HRAs or HRA-linked chart reviews for certain health
    conditions, including serious and chronic illnesses, such as diabetes and congestive heart failure.

What OIG Recommends
In addition to implementing prior OIG recommendations, CMS should: (1) impose additional restrictions on the use of
diagnoses reported only on in-home HRAs or chart reviews that are linked to in-home HRAs for risk-adjusted payments, (2)
conduct audits to validate diagnoses reported only on in-home HRAs and HRA-linked chart reviews, and (3) determine
whether select health conditions that drove payments from in-home HRAs and HRA-linked chart reviews may be more
susceptible to misuse among MA companies. CMS concurred with our third recommendation but not the other two.



                                                      OIG.HHS.GOV
         CASE 0:24-cv-01743-JMB-DTS              Doc. 49-11       Filed 11/22/24      Page 4 of 39


Primer: The Medicare Advantage Program and
Health Risk Assessments
The Medicare Advantage Program

Under Medicare Advantage (MA), also known as Medicare Part C, the Centers for Medicare & Medicaid
Services (CMS) contracts with MA companies 1 to provide coverage of Parts A and B services through
private health plan options. 2 In 2023, half of Medicare enrollees—32 million—elected to enroll with MA
companies rather than the Medicare fee-for-service program. MA program costs were $448 billion of
the total $1 trillion in Medicare program costs in fiscal year 2023. 3

MA risk-adjusted payments. For each enrollee, MA companies receive a capitated payment that
reflects CMS’s predicted cost of providing care to an MA enrollee. CMS risk-adjusts payments to pay
MA companies more for enrollees with higher expected health care costs. To calculate these payments,
MA companies submit records of services provided to enrollees to CMS’s MA Encounter Data System
that contain claims information or administrative data, including the diagnoses. CMS identifies
diagnoses that are eligible for risk adjustment and groups them into hierarchical condition categories
(HCCs) of clinically related diagnoses. 4 Each HCC has relative numerical values (i.e., relative factors) that
represent expected costs associated with treating the medical conditions in the category. 5 The
enrollee’s risk score equals the sum of the relative factors that correspond with the enrollee’s HCCs and
demographic characteristics. The total risk-adjusted payment to an MA company for an enrollee equals
the enrollee’s risk score multiplied by the MA plan’s base payment rate. 6

The risk-adjustment payment policy creates financial incentives for MA companies to misrepresent
enrollees’ health statuses by submitting unsupported diagnoses to CMS for additional conditions that
inappropriately inflate their risk-adjusted payments. Unsupported risk-adjusted payments have been a
major driver of improper payments in the MA program. For fiscal year 2023, CMS identified
$12.7 billion in net overpayments that resulted from plan-submitted diagnoses that were not supported
by documentation in enrollees’ medical records. 7 Similarly, OIG 8 and other oversight entities 9, 10 tasked
with safeguarding MA program integrity have identified vulnerabilities related to MA companies
inflating their enrollees’ risk scores, as shown in Appendix A.

HRAs and HRA-Linked Chart Reviews

CMS allows MA companies to use HRAs and chart reviews as sources of diagnoses for risk adjustment. 11
OIG and other entities have raised concerns that some MA companies may be misusing these
mechanisms to report unsupported enrollee diagnoses and inflate their risk-adjusted payments. For
example, in September 2023, the Department of Justice announced a $172 million settlement with The
Cigna Group and its subsidiaries, achieved in partnership with OIG. This settlement resolved allegations
that Cigna improperly increased its risk-adjusted payments from CMS by misusing chart reviews and in-
home HRAs.

HRAs. In Medicare, health care professionals conduct HRAs to collect information from enrollees about
their health status, health risks, and daily activities. HRAs are part of enrollees’ annual wellness visits,
which typically occur in physician offices or other health care facilities. Annual wellness visits also may
                                                                                                      Primer | i
        CASE 0:24-cv-01743-JMB-DTS                       Doc. 49-11          Filed 11/22/24          Page 5 of 39


occur via telehealth. HRAs also may be conducted during other visits with enrollees—including visits to
enrollees’ homes. Thus, Medicare enrollees may receive an in-home HRA, a telehealth HRA, or a facility-
based HRA.

CMS encourages MA companies to have providers conduct initial and annual HRAs. 12 Ideally, assessing
an enrollee’s health risks affords the opportunity for care coordination that may include developing a
plan of care, arranging services, delivering interventions, and reassessing and adjusting the plan of care
as needed. CMS also encourages MA companies to adopt best practices that support care coordination
when implementing in-home HRA programs, as shown in Exhibit 1.

     Exhibit 1: Examples of CMS’s best practices for ensuring care coordination related to
     in-home HRAs




     Source: CMS, “Announcement of Calendar Year (CY) 2016 Medicare Advantage Capitation Rates and Medicare Advantage
     and Part D Payment Policies and Final Call Letter,” p. 146. Accessed at https://www.cms.gov/medicare/
     health-plans/medicareadvtgspecratestats/downloads/announcement2016.pdf on Apr. 11, 2024.



Concerns regarding HRAs. Oversight entities have questioned whether MA companies use HRAs or
HRA-type assessments 13 primarily as a tool to maximize risk-adjusted payments rather than to improve
care provided to enrollees. Previous OIG work found that diagnoses that MA companies reported only
on HRAs in the encounter data resulted in an estimated $2.6 billion in risk-adjusted payments for 2017.
HRAs conducted in enrollees’ homes generated $2.1 billion of the $2.6 billion in risk-adjusted payments.
Most of these in-home HRAs were conducted by third-party vendors that MA companies partnered
with or hired to conduct HRAs and likely were not conducted by enrollees’ own primary care providers,
which may have created gaps in care coordination. OIG’s findings raised concerns about the
appropriateness of risk-adjusted payments generated by HRAs, the quality of care coordination for
enrollees, and the completeness of encounter data. The Medicare Payment Advisory Commission
(MedPAC) conducted similar analyses and noted that diagnoses identified only through in-home HRAs
may be less accurate because they often are based on enrollee self-reporting or may require verification
by diagnostic equipment not present during the visit. 14

CMS does not require MA companies to indicate in the Encounter Data System that a diagnosis resulted
from an HRA, which also presents challenges for overseeing the appropriate use of HRAs. For this and
our prior evaluations of HRAs, we had to reasonably approximate our identification of these diagnoses
based on OIG analysis and discussion with CMS, as detailed in our Methodology on page 12.
                                                                                                                        Primer | ii
        CASE 0:24-cv-01743-JMB-DTS              Doc. 49-11      Filed 11/22/24     Page 6 of 39


HRA-linked chart reviews. In CMS’s Encounter Data System, MA companies may add diagnoses to
service records using chart review records. CMS allows MA companies to link these chart reviews to
records of HRA visits (hereafter referred to as “HRA-linked chart reviews”). A chart review is an MA
company’s retrospective review of an enrollee’s medical record documentation to identify diagnoses
that a provider did not submit to the MA plan or submitted to the plan in error. MA companies may
conduct chart reviews to ensure that the correct diagnoses are reported for risk adjustment. To
perform these reviews, MA companies may hire third-party vendors to examine enrollees’ medical
records. These vendors may employ staff with clinical or health care coding experience, or they may
use artificial intelligence software. When conducting chart reviews, vendors or other reviewers may add
diagnoses based on their review of information in the enrollee’s medical record, including diagnoses
that they believe were missed in the original HRA documentation.

Concerns regarding HRA-linked chart reviews. Previous OIG work raised concerns that chart reviews
may provide MA companies with opportunities to inflate risk-adjusted payments inappropriately. OIG
found that diagnoses that MA companies reported only on chart reviews—and not on any service
records in the encounter data—resulted in an estimated $6.7 billion in risk-adjusted payments for 2017.
Diagnoses collected from MA companies’ chart reviews may be less likely to be supported by medical
records compared to diagnoses submitted to MA companies by providers. 15

Chart reviews that are linked to HRAs—regardless of where the HRA was performed—may be even
more vulnerable to misuse than chart reviews previously identified by OIG because HRA-linked chart
reviews contain both the vulnerabilities associated with chart reviews and the vulnerabilities associated
with HRAs. Thus, if MA companies submit diagnoses derived from their own chart reviews of HRAs, this
heightens concerns regarding the validity of these diagnoses or the quality of care for MA enrollees.

Although all HRA-linked chart reviews raise concerns, the specific subset of chart reviews that are linked
to in-home HRAs may be even more vulnerable to misuse than those linked to facility-based HRAs
because in-home HRAs may: (1) be conducted by someone other than the enrollee’s primary care
provider and (2) occur in a setting with less diagnostic equipment than would be in a health care facility.
By adding diagnoses to an in-home HRA via a chart review without also implementing best practices for
care coordination, MA companies may further circumvent the provider-enrollee relationships that
ensure high-quality coordination of care.




                                                                                                  Primer | iii
                CASE 0:24-cv-01743-JMB-DTS                    Doc. 49-11        Filed 11/22/24         Page 7 of 39
Estimated Risk-Adjusted Payments

  Diagnoses reported only on HRAs and HRA-linked chart reviews resulted in an
  estimated $7.5 billion in risk-adjusted payments for 2023

  Diagnoses reported only on HRAs and HRA-linked chart reviews, and on no other service records for the entire
  year, resulted in an estimated $7.5 billion in risk-adjusted
  payments for 2023. 16 Most MA companies (157 of 170)         Exhibit 2: In-home HRAs and HRA-linked
  generated risk-adjusted payments from HRAs and HRA-          chart reviews drove almost two-thirds of the
  linked chart reviews for 1.7 million MA enrollees with no    estimated risk-adjusted payments from
  other encounter records of visits, procedures, tests, or     diagnoses reported only on HRAs and HRA-
  supplies that contained these diagnoses.                     linked chart reviews

  In-home HRAs and HRA-linked chart reviews generated
  63 percent of the estimated $7.5 billion in risk-adjusted
  payments, as shown in Exhibit 2. Diagnoses reported only
  on an HRA—conducted in any setting—but on no other
  service records raise questions about whether the
  diagnoses are valid and whether enrollees got needed
  care. However, it is especially concerning when diagnoses
  result solely from in-home HRAs or from HRA-linked chart
  reviews conducted in any setting. In-home HRAs and
  HRA-linked chart reviews conducted in any setting may be
  more vulnerable to misuse because these tools are often
  administered by MA companies or their third-party
  vendors and not enrollees’ own providers. Diagnoses
  reported only on these types of records heighten concerns
  about the validity of the diagnoses or the coordination of
  care for MA enrollees.

  HRA-linked chart reviews generated an estimated $1.3           Source: OIG analysis of 2022 MA encounter data from CMS’s
                                                                 Integrated Data Repository Cloud (IDRC).
  billion in risk-adjusted payments. HRA-linked chart            Note: Before rounding, the sum of payments from in-home HRAs
  reviews are chart reviews that may retrospectively add         ($3.45 billion) and HRA-linked chart reviews ($1.29 billion) totaled
                                                                 $4.7 billion.
  diagnoses using the information collected by the HRA,
  even though the original HRA did not contain that diagnosis. Of the total payments from HRA-linked chart
  reviews, 57 percent were linked to HRAs conducted in homes ($738.9 million of $1.3 billion). In contrast, chart
  reviews of HRAs conducted in facilities generated 42 percent of risk-adjusted payments from HRA-linked chart
  reviews ($546 million of $1.3 billion). Chart reviews that were linked to HRAs conducted via telehealth
  generated less than 1 percent of risk-adjusted payments from HRA-linked chart reviews ($7.4 million of $1.3
  billion).

  Taken together, in-home HRAs and the subset of chart reviews that relied upon in-home HRAs generated an
  estimated $4.2 billion of the total $7.5 billion in risk-adjustment payments. 17 Any inaccurate diagnoses from
  these in-home HRAs and associated chart reviews may have resulted in overpayments to the MA companies.
  For diagnoses that were accurate, enrollees may have gone without needed care.



                                                                                                                                        1
              CASE 0:24-cv-01743-JMB-DTS                           Doc. 49-11       Filed 11/22/24           Page 8 of 39


MA companies generated a higher payment for each in-home HRA submitted than
for other types of HRAs and HRA-linked chart reviews

On average, for each in-home HRA, MA companies generated $1,869 in estimated risk adjusted payments, as
shown in Exhibit 3. On average, for each facility-based HRA, MA companies generated $365 in estimated risk-
adjusted payments.



     Exhibit 3: On average, MA
     companies generated a
     higher payment for each
     in-home HRA submitted
     than for other types of
     HRAs and HRA-linked
     chart reviews



                                                Source: OIG analysis of 2022 MA encounter data from CMS’s IDRC.




Overall, 46 percent of the estimated $7.5 billion in risk-adjusted payments from HRAs and HRA-linked chart
reviews were generated by in-home HRAs, yet these in-home visits accounted for only 13 percent of the HRAs
and HRA-linked chart review records in the 2022 MA encounter data, as shown in Exhibit 4. While the
percentage of in-home HRA records submitted was smaller than the percentage of estimated payments
generated by those in-home HRAs, the percentage of facility-based HRAs and HRA-linked chart reviews had
the opposite relationship.

 Exhibit 4: Although in-home HRAs generated a substantial portion of estimated payments from
 HRAs and HRA-linked chart reviews, these visits accounted for only 13 percent of the HRA and
 HRA-linked chart review records in the 2022 MA encounter data




 Source: OIG analysis of 2022 MA encounter data from CMS’s IDRC.                                                            2
                 CASE 0:24-cv-01743-JMB-DTS                         Doc. 49-11   Filed 11/22/24   Page 9 of 39
Top Health Conditions

  Just 13 health conditions drove 75 percent of the estimated $7.5 billion in 2023
  risk-adjusted payments from HRAs and HRA-linked chart reviews

  The hierarchical condition categories (HCCs) generated by diagnoses reported only on HRAs and HRA-linked
  chart reviews included serious, chronic illnesses, such as diabetes and congestive heart failure. However, there
  were no service records in the encounter data directly demonstrating that these enrollees received treatment
  for these and other serious conditions. The top 13 health conditions generated $5.6 billion of the estimated
  $7.5 billion in risk-adjusted payments for 2023, as shown in Exhibit 5. Almost half of these payments ($2.7
  billion of $5.6 billion) were generated by in-home HRAs. On the other end of the spectrum, 1 percent of these
  payments ($67.6 million of $5.6 billion) were generated by telehealth HRAs. Appendix B provides the amount
  of risk-adjusted payments for each condition that resulted from diagnoses reported solely on HRAs and HRA-
  linked chart reviews.

  Exhibit 5: Thirteen health conditions drove three-fourths of the risk-adjusted payments from HRAs
  and HRA-linked chart reviews for 2023




  Source: OIG analysis of 2022 MA encounter data from CMS’s IDRC.


                                                                                                                 3
                 CASE 0:24-cv-01743-JMB-DTS                       Doc. 49-11           Filed 11/22/24           Page 10 of 39
Diagnoses for Top Health Conditions

  Certain diagnoses associated with the top 13 health conditions were most commonly
  generated by in-home HRAs

  MA companies relied mainly on in-home HRA visits to collect certain diagnoses associated with some of the
  top 13 health conditions, as shown in Exhibit 6. For example, MA companies used in-home HRAs to report a
  diagnosis of “secondary hyperaldosteronism” for 74 percent of all enrollees (59,281 of 80,130) with this
  diagnosis on either an HRA or HRA-linked chart review that resulted in payment. However, only 3 percent of
  enrollees (2,240 of 80,130) received this diagnosis during a facility-based HRA visit that resulted in payment.

  Exhibit 6: Certain diagnoses were reported more often on in-home HRAs than on other types of
  records




  Source: OIG analysis of 2022 MA encounter data from CMS’s IDRC.
  Note: The percentages may not sum to 100 percent due to rounding. In addition, the diagnosis code “rheumatoid polyneuropathy with rheumatoid
  arthritis of unspecified site” is associated with two HCCs.




Top MA Companies


  Twenty MA companies had a disproportionate share of the estimated $7.5 billion in
  risk-adjusted payments resulting solely from HRAs and HRA-linked chart reviews

  Most MA companies’ (137 of 157) share of these payments was proportional to or lower than their percentage
  of enrollees. However, the top 20 MA companies each had a share of payments from HRAs and HRA-linked
  chart reviews that exceeded their percentage of enrollees by more than 25 percent (see Appendix C). Taken
  together, these 20 MA companies generated 80 percent of the estimated $7.5 billion in 2023 risk-adjusted



                                                                                                                                                 4
           CASE 0:24-cv-01743-JMB-DTS                 Doc. 49-11          Filed 11/22/24           Page 11 of 39


payments while covering only half of MA enrollees, as shown in Exhibit 7. In contrast, the other 137 MA
companies generated 20 percent of payments.




     Exhibit 7: Just 20 MA companies
     drove 80 percent of risk-adjusted
     payments from diagnoses
     reported only on HRAs and HRA-
     linked chart reviews while
     covering only half of MA enrollees



                                                          Source: OIG analysis of 2022 MA encounter data from CMS’s IDRC.




The top 20 MA companies generated a substantially greater share of the payments
resulting from HRAs and HRA-linked chart reviews for 7 of the top 13 health
conditions
Overall, the top 20 MA companies had between 81 and 91 percent of the payments resulting from HRAs and
HRA-linked chart reviews for each of 7 conditions, as shown in Exhibit 8. For example, these 20 MA companies
drove 88 percent ($476.8 million of $539 million) of the estimated risk-adjusted payments from HRAs and HRA-
linked chart reviews for “Disorders of Immunity.” In contrast, the other 137 MA companies generated only 12
percent ($62.4 million of $539 million) of the estimated risk-adjusted payments from HRAs and HRA-linked
chart reviews for the same health condition.




 Exhibit 8: For some of
 the top health
 conditions, the top 20
 MA companies had a
 substantially greater
 share of the payments
 resulting from HRAs
 and HRA-linked chart
 reviews, in comparison
 to their peers




                             Source: OIG analysis of 2022 MA encounter data from CMS’s IDRC.
                                                                                                                            5
             CASE 0:24-cv-01743-JMB-DTS                          Doc. 49-11           Filed 11/22/24           Page 12 of 39


One top MA company drove payments from in-home HRAs and HRA-linked chart
reviews
One top MA company stood out from its peers in its use of in-home HRAs and HRA-linked chart reviews to
generate risk-adjusted payments. As shown in Exhibit 9, this one top MA company drove about two-thirds of
risk-adjusted payments from diagnoses reported only on in-home HRAs and HRA-linked chart reviews. Yet,
this MA company covered only 28 percent of 2022 MA enrollees. In contrast, the other companies had a
greater share of the payments from diagnoses reported solely on facility-based and telehealth HRAs.

   Exhibit 9: One top MA company had a greater share of the payments from diagnoses
   reported solely on in-home HRAs and HRA-linked chart reviews, whereas the other
   companies had more of the payments from diagnoses reported solely on facility-based and
   telehealth HRAs




   Source: OIG analysis of 2022 MA encounter data from CMS’s IDRC.
   Note: Before rounding, the sum of payments from in-home HRAs ($3.45 billion) and HRA-linked chart reviews ($1.29 billion) totaled $4.74
   billion.



The other top 19 MA companies accounted for almost a quarter of payments ($1.2 billion of $4.7 billion) from
in-home HRAs and HRA-linked chart reviews and covered 22 percent of enrollees. The remaining 137
companies accounted for 10 percent of payments ($495.4 million of $4.7 billion) from in-home HRAs and HRA-
linked chart reviews yet covered half of enrollees.


Among the top 20 MA companies, enrollees who were dually eligible and/or eligible
for the low-income subsidy were disproportionately represented

For the top 20 MA companies, enrollees who were dually eligible for Medicare and Medicaid and/or eligible
for the Part D low-income subsidy 18 represented 21 percent of all MA enrollees but accounted for 29 percent
of enrollees with diagnoses reported only on HRAs or HRA-linked chart reviews that generated payment, as
shown in Exhibit 10 on the next page.


                                                                                                                                             6
             CASE 0:24-cv-01743-JMB-DTS              Doc. 49-11          Filed 11/22/24           Page 13 of 39


  In contrast, for the other 137 companies, 17 percent of all MA enrollees were dually eligible and/or eligible for
  the low-income subsidy and accounted for 16 percent of enrollees that had diagnoses from HRAs or
  HRA-linked chart reviews that resulted in payments.

       Exhibit 10: The top 20 MA
       companies had a higher
       percentage of enrollees who were
       dually eligible and/or eligible for
       the low-income subsidy and these
       enrollees were disproportionately
       represented among those with
       diagnoses that generated payment
       from HRAs or HRA-linked chart
       reviews
                                                    Source: OIG analysis of 2022 MA encounter data from CMS’s IDRC.


  Of the top 20 MA companies, 8 companies mainly offered Special Needs Plans (SNPs), and at least 90 percent
  of their enrollees were dually-eligible for Medicare and Medicaid. 19 Besides meeting the same coverage
  requirements as other MA plans, CMS also requires that companies offering SNPs conduct HRAs and take
  additional measures to address the specific health care and care coordination needs of the populations they
  serve. 20 Thus, even more so than for other types of MA plans, it is concerning that enrollees in SNPs would
  potentially lack followup care given these additional requirements.


MA Enrollees With No Other 2022 Service Records

  Thousands of MA enrollees had no service records in the 2022 encounter data other
  than a single in-home HRA

  Of the 1.7 million MA enrollees who had no other               Exhibit 11: In-home HRAs generated almost
  service records for certain diagnoses reported only on         three-quarters of the $81.9 million in risk-
  HRAs and HRA-linked chart reviews, most had service            adjusted payments for enrollees without a single
  records for other types of diagnoses. However, 19,028          record of any other service in 2022
  of those enrollees had no other service records at all in
  2022, besides a single HRA.

  In-home HRAs accounted for 74 percent of the total
  $81.9 million in estimated risk-adjusted payments
  generated for enrollees for whom there was not a single
  record of any other service in 2022, as shown in Exhibit
  11. Specifically, 77 MA companies generated
  $60.6 million in payments for 14,103 enrollees who did
  not have an encounter record of receiving any tests,
  supplies, or services other than an in-home HRA. In
  contrast, facility-based HRAs accounted for 23 percent
                                                                 Source: OIG analysis of 2022 MA encounter data from CMS’s IDRC.


                                                                                                                                   7
            CASE 0:24-cv-01743-JMB-DTS             Doc. 49-11      Filed 11/22/24     Page 14 of 39


 of the total payments ($18.5 million of $81.9 million) generated for enrollees who lacked any other service
 record in the 2022 encounter data.

 While 77 MA companies had estimated risk-adjusted payments for enrollees who had only 1 in-home HRA and
 no other record in the 2022 encounter data, just 8 of the 77 MA companies drove 96 percent of the $60.6
 million in payments. Of these eight MA companies, just one MA company generated more than half—$36.9
 million—of these payments.


Why This Matters

 HRAs can be used for early identification of health risks to improve enrollees’ care and health outcomes. In
 fact, CMS has provided guidance to MA companies on a wide range of best practices that they can use to help
 connect enrollees with appropriate care based on HRA results. Additionally, chart reviews can be a tool to
 improve the accuracy of risk-adjusted payments. However, HRAs and HRA-linked chart reviews raise concerns
 if MA companies use them to add diagnoses and maximize risk-adjusted payments without improving
 enrollees’ care.

 We found that diagnoses that MA companies reported solely on HRAs and HRA-linked chart reviews generated
 an estimated $7.5 billion in risk-adjusted payments for 2023. In-home HRAs and HRA-linked chart reviews—
 which may be particularly vulnerable to misuse by MA companies—accounted for $4.7 billion, or 63 percent, of
 these payments.

 These findings reinforce three types of concerns OIG identified in its prior work on HRAs and chart reviews.


            Payment Integrity: MA companies may have submitted diagnoses on the HRAs that were not
            documented in the enrollees’ medical record and, therefore, may have received inappropriate
            payments from CMS.

            Quality of Care: MA companies may not have coordinated care following these enrollees’ HRAs,
            including verifying that information was provided to the enrollees’ provider(s) and verifying that
            appropriate followup care was provided to the enrollees.

            Data Integrity: MA companies may not have ensured that the encounter data contained all records of
            items and services provided to enrollees.

 Most of the $7.5 billion in risk-adjusted payments were concentrated among 13 health conditions, including
 serious, chronic illnesses, such as congestive heart failure and diabetes. The serious nature of some top health
 conditions raises questions about whether in-home HRA visits would include the appropriate testing supplies
 and equipment needed to accurately diagnose these conditions. If the conditions were accurately diagnosed,
 the serious nature of some conditions heightens concerns about whether enrollees received needed care to
 treat these conditions. Some MA companies may warrant further oversight and followup, especially those
 whose use of HRAs and HRA-linked chart reviews drove disproportionate shares of risk-adjusted payments and
 those with HRA-generated payments for enrollees who had no service records whatsoever.



                                                                                                                 8
            CASE 0:24-cv-01743-JMB-DTS              Doc. 49-11      Filed 11/22/24       Page 15 of 39
What OIG Recommends

 The results of this latest analysis, combined with OIG’s prior evaluations and enforcement work, call into
 question whether in-home HRAs should be allowed to drive billions of dollars in risk adjustment without: (1)
 tighter controls over the accuracy of the diagnoses generated by them and (2) controls to ensure that MA
 companies are taking meaningful actions to connect enrollees to appropriate care based on HRA results.

 At the policy level, OIG recommends that CMS:

        Impose additional restrictions on the use of diagnoses reported only on in-home HRAs or chart
        reviews that are linked to in-home HRAs for risk-adjusted payments. While there are general
        requirements and oversight in place for the MA risk adjustment payment process, CMS should take
        additional steps specific to in-home HRAs or chart reviews linked to in-home HRAs. Additional
        restrictions are needed to mitigate the risks to payment integrity and enrollee coordination of care
        arising from diagnoses reported only through these sources. Such restrictions could be excluding such
        diagnoses from eligibility for risk-adjusted payments. Alternatively, CMS could require that the
        enrollee’s medical record contain evidence that the MA company took meaningful actions to connect
        the enrollee to appropriate care based on the results of the in-home HRA as a condition for the in-
        home HRA to be an allowable source for risk-adjusted payment.

 However, as long as CMS continues its policy of allowing diagnoses from in-home HRAs and chart reviews
 linked to in-home HRAs to generate risk-adjusted payments, it needs to strengthen its oversight of MA
 companies in several ways. To improve its oversight, OIG recommends that CMS:

        Conduct audits to validate diagnoses reported only on in-home HRAs and HRA-linked chart
        reviews. CMS should incorporate risk-adjustment eligible diagnoses from in-home HRAs and HRA-
        linked chart reviews into its contract-level Risk Adjustment Data Validation (RADV) audits of risk-
        adjusted payments. In addition, CMS should ensure that audits include a representative or targeted
        sample of diagnoses reported on in-home HRAs and HRA-linked chart reviews. After conducting these
        contract-level RADV audits of in-home HRAs and HRA-linked chart reviews, CMS should take steps to
        mitigate any vulnerabilities identified in its audits and oversight of in-home HRAs and HRA-linked chart
        reviews.

        Determine whether select HCCs that drove payments from in-home HRAs and HRA-linked chart
        reviews may be more susceptible to misuse among MA companies. CMS should determine
        whether diagnoses for select HCCs that drove payments from in-home HRAs and HRA-linked chart
        reviews are particularly subject to intentional or unintentional coding variation or inappropriate coding
        by health plans or providers. OIG identified 13 top health conditions that accounted for a substantial
        portion of MA companies’ estimated payments from HRAs and HRA-linked chart reviews. We also
        identified five diagnoses (and associated top HCCs) that were reported more often for in-home HRAs
        than for other types of HRA visits. Finally, for 7 of the 13 HCCs, certain MA companies had a
        substantially greater share of payments driven by diagnoses reported solely on HRAs and HRA-linked
        chart reviews than their peers.

        OIG is aware that CMS has begun implementing a revised HCC diagnostic classification system that
        aims to address discretionary coding variation. These revisions impact some conditions highlighted in
        this report, such as diabetes and congestive heart failure. 21 This is consistent with one of the principles
        (Principle 10) that CMS uses to guide its HCC diagnostic classification system, which states “diagnoses
                                                                                                                       9
            CASE 0:24-cv-01743-JMB-DTS            Doc. 49-11      Filed 11/22/24      Page 16 of 39


        that are particularly subject to intentional or unintentional discretionary coding variation or
        inappropriate coding by health plans/providers” should not increase risk-adjusted payments to MA
        companies. 22 If CMS determines through ongoing analysis that additional health conditions are more
        susceptible to coding variation, CMS should determine whether the degree of coding variation warrants
        changes to the use of these conditions for risk adjustment.

 We note that this new evaluation provides further support for open recommendations that OIG has previously
 made to CMS to strengthen its oversight of HRAs and chart reviews. These include:

    (1) require MA companies to implement best practices to ensure care coordination for HRAs, 23

    (2) provide targeted oversight of MA companies that drove most of the payments resulting from
        in-home HRAs, 24

    (3) require MA organizations to flag in their MA encounter data any HRAs they initiate, 25

    (4) conduct audits that validate diagnoses reported on chart reviews in the MA encounter data, 26 and

    (5) perform periodic monitoring to identify MA companies that had a disproportionate share of risk-
        adjusted payments from chart reviews and HRAs. 27



Agency Comments and OIG Response

 CMS did not concur with our recommendation to restrict the use of diagnoses reported only on in-home HRAs
 or chart reviews linked to in-home HRAs for risk-adjusted payments. Although CMS recognizes concerns
 regarding MA companies’ potential misuse of HRAs, CMS noted that our analysis did not determine whether
 diagnoses reported only on HRAs were supported by medical record documentation. CMS also stated that the
 lack of a definitive method for identifying in-home HRAs raises challenges in any effort to reconsider allowing
 these diagnoses for risk adjustment. We share CMS’s concerns regarding the lack of a definitive method for
 identifying various types of in-home HRAs. To resolve this specific challenge, CMS should implement our prior
 recommendation to require MA organizations to flag in their MA encounter data any HRAs they initiate.
 Ultimately, OIG continues to recommend that CMS impose additional restrictions on the use of diagnoses
 reported solely on in-home HRAs and chart reviews linked to in-home HRAs.

 CMS did not concur or nonconcur with our recommendation for it to conduct audits to validate diagnoses
 reported only on in-home HRAs and HRA-linked chart reviews. Instead, CMS noted that it will use data
 gathered from its 2018 RADV audits and other analyses to assess whether to conduct future RADV audits of a
 sample of diagnoses derived from in-home HRAs and HRA-linked chart reviews. CMS stated it will share the
 results of its 2018 audits with OIG. OIG encourages CMS to implement our recommendation to conduct its
 own audits of diagnoses reported only on in-home HRAs and HRA-linked chart reviews. We appreciate CMS’s
 plan to share the results of its assessment with OIG. OIG also is conducting RADV-like audits of diagnoses
 reported only on in-home HRAs.

 CMS concurred with our recommendation to determine whether select HCCs that drove payments from in-
 home HRAs and HRA-linked chart reviews may be more susceptible to misuse among MA companies. CMS
 states that it has implemented this recommendation and has begun taking steps to exclude or constrain certain
                                                                                                              10
           CASE 0:24-cv-01743-JMB-DTS            Doc. 49-11      Filed 11/22/24     Page 17 of 39


HCCs that CMS determined were more susceptible to coding variation by MA companies—including HCCs
highlighted by OIG as driving payments from HRAs and HRA-linked chart reviews. OIG appreciates the actions
CMS has taken to revise its HCC classification system. Going forward, we encourage CMS to continue to
analyze any changes in coding variation for health conditions generated solely by HRAs and HRA-linked chart
reviews, and reassess the use of such conditions for risk adjustment.

We ask that, in its Final Management Decision, CMS reconsider its position on our first recommendation, clarify
its position on our second recommendation, and provide updates on its plans and actions related to each of
these recommendations.

The full text of CMS’s comments can be found in Appendix E.




                                                                                                             11
            CASE 0:24-cv-01743-JMB-DTS            Doc. 49-11     Filed 11/22/24     Page 18 of 39
Methodology

 We reviewed HRAs and HRA-linked chart reviews from the 2022 MA encounter data stored in CMS’s Integrated
 Data Repository Cloud (IDRC) to determine the amount of 2023 MA risk-adjusted payments that would have
 resulted from diagnoses reported only on HRAs or HRA-linked chart reviews. 28 For our analysis, we included
 only enrollees in the same MA contract for all 12 months of 2022. In addition, we excluded enrollees who were
 diagnosed with end-stage renal disease, were receiving hospice care, or did not reside in a U.S. State or
 Washington D.C. We excluded cost plans, demonstration plans, programs of all-inclusive care for the elderly
 organizations, and Medicare medical savings account plans.

 Identifying HRAs. Because CMS does not require MA companies to flag diagnoses that resulted from HRAs,
 we used a two-step process to identify 2022 service records that met our criteria for an HRA. First, we
 identified service records containing distinct procedure codes for annual wellness visits, initial preventive
 physical exams, and evaluation and management home visits. 29 We then excluded from our analysis all service
 records for enrollees who had more than one HRA record with a procedure code identified in step one. We
 identified the place of service codes and procedure code modifiers reported on HRA records to determine
 whether the HRA visits were conducted in enrollees’ homes, via telehealth, or in health care facilities.

 Identifying HRA-linked chart reviews. We identified HRA-linked chart reviews as chart review records 30 that
 contained an original control number and had a four-part effective key that matched the four-part key of an
 HRA.

 Calculating risk-adjusted payments. We analyzed diagnoses reported on 9.3 million HRAs and 4.9 million
 HRA-linked chart reviews submitted by MA companies to calculate the impact of HRAs and HRA-linked chart
 reviews on risk-adjusted payments for 2023. We identified enrollees with HCCs generated only by diagnoses
 reported on risk-adjustment-eligible HRAs and HRA-linked chart reviews that were not reported on any other
 2022 record submitted to CMS’s Encounter Data System. 31 We extracted enrollment and payment information
 for these enrollees, including information from the Medicare Advantage and Prescription Drug data, to
 calculate estimated risk-adjusted payments for diagnoses reported only on HRAs and HRA-linked chart reviews.

 Conducting summary analyses. For payment year 2023, we conducted summary analyses on the MA
 companies with payments from diagnoses reported only on HRAs and HRA-linked chart reviews. We analyzed
 variation across MA companies to determine whether certain companies had a disproportionately higher share
 of risk-adjusted payments due to diagnoses reported only on HRAs and HRA-linked chart reviews. We
 summarized the percentage of HRAs that were administered in enrollees’ homes, via telehealth, or in health
 care facilities. We also summarized the number and type of HCCs and diagnoses that resulted in payments.
 For our analysis of diagnoses that were most commonly generated by in-home HRAs, we limited the analysis to
 diagnoses reported for at least 5,000 enrollees on in-home HRAs. To determine whether certain enrollees may
 have been disproportionately represented among enrollees with diagnoses that resulted in payments, we
 compared the percentage of all MA enrollees with certain demographic characteristics to the percentage of
 enrollees with these characteristics who also had diagnoses reported only on HRAs or HRA-linked chart reviews
 that resulted in payments, as shown in Appendix D.


Limitations

 We did not determine whether diagnoses reported only on HRAs or HRA-linked chart reviews were supported
 by documentation in enrollees’ medical records. For enrollees with diagnoses reported only on HRAs or


                                                                                                            12
            CASE 0:24-cv-01743-JMB-DTS            Doc. 49-11      Filed 11/22/24     Page 19 of 39


 HRA-linked chart reviews, we did not determine whether their MA companies had submitted all required
 service records to CMS’s Encounter Data System. In addition, our review did not include records of services
 provided to MA enrollees but not covered or paid under Medicare Part C by an MA company, such as services
 provided through the Veterans Health Administration.

 Because CMS does not require MA companies to flag in the encounter data that a diagnosis resulted from an
 HRA, we had to reasonably approximate our identification of these diagnoses based on OIG analysis and
 discussion with CMS. Our approximation may have included diagnoses reported during visits in which medical
 care was provided and an HRA was not administered. Alternatively, our approximation may have missed
 diagnoses that resulted from HRAs that MA companies reported on types of records that we did not include.

 For this analysis we used MA enrollees’ race and ethnicity data contained in the IDRC, which is based on data
 collected from the Social Security Administration and an algorithm developed by the Research Triangle
 Institute. CMS and OIG have identified inaccuracies in Medicare enrollees’ race and ethnicity data that CMS has
 been working to improve. The race and ethnicity data are less accurate for certain racial and ethnic
 communities. 32



Standards

 We conducted this study in accordance with the Quality Standards for Inspection and Evaluation issued by the
 Council of the Inspectors General on Integrity and Efficiency.




                                                                                                                13
                CASE 0:24-cv-01743-JMB-DTS                        Doc. 49-11          Filed 11/22/24            Page 20 of 39
Appendix A: Recent HHS-OIG Work Related to MA Risk Adjustment

 Information on OIG’s work on managed care can be found on our Managed Care web page. Below is a list of
 recent OIG work on risk adjustment in MA.

 Exhibit A-1: HHS-OIG’s recent work on risk adjustment in MA
  Recent HHS-OIG Evaluations Related to Risk Adjustment in MA                                    Report Number                    Date Issued

  Some Medicare Advantage Companies Leveraged Chart Reviews and                                  OEI-03-17-00474               September 2021
  Health Risk Assessments To Disproportionately Drive Payments
  Billions in Estimated Medicare Advantage Payments From Diagnoses                               OEI-03-17-00471               September 2020
  Reported Only on Health Risk Assessments Raise Concerns
  Billions in Estimated Medicare Advantage Payments From Chart Reviews                           OEI-03-17-00470               December 2019
  Raise Concerns

  Recent HHS-OIG Audits Related to Risk Adjustment in MA                                         Report Number                    Date Issued

  Medicare Advantage Compliance Audit of Specific Diagnosis Codes That                            A-07-20-01198                  February 2024
  MediGold (Contract H3668) Submitted to CMS
  Toolkit To Help Decrease Improper Payments in Medicare Advantage                                A-07-23-01213                December 2023
  Through the Identification of High-Risk Diagnosis Codes
  Medicare Advantage Compliance Audit of Specific Diagnosis Codes That                            A-06-19-05002                November 2023
  SelectCare of Texas, Inc. (Contract H4506) Submitted to CMS
  Medicare Advantage Compliance Audit of Diagnosis Codes That CarePlus                            A-04-19-07082                   October 2023
  Health Plans, Inc. (Contract H1019) Submitted to CMS
  Medicare Advantage Compliance Audit of Specific Diagnosis Codes That                            A-01-18-00504                   October 2023
  Aetna, Inc. (Contract H5521) Submitted to CMS

  Recent Fraud Enforcement Actions Related to Risk Adjustment in MA                                                            Date Released

  Former Executive at Medicare Advantage Organization Charged for Multimillion-Dollar                                             October 2023
  Medicare Fraud Scheme
  Cigna Group to Pay $172 Million to Resolve False Claims Act Allegations                                                      September 2023


  Martin’s Point Health Care Inc. to Pay $22,485,000 to Resolve False Claims Act Allegations                                           July 2023


  Sutter Health and Affiliates to Pay $90 Million to Settle False Claims Act Allegations of                                        August 2021
  Mischarging the Medicare Advantage Program
  Medicare Advantage Provider and Physician to Pay $5 Million to Settle False Claims Act                                           August 2019
  Allegations
 Source: OIG, Managed Care, 2024. Accessed at https://oig.hhs.gov/reports-and-publications/featured-topics/managed-care/ on May 1, 2024.




                                                                                                                                              14
                   CASE 0:24-cv-01743-JMB-DTS                         Doc. 49-11          Filed 11/22/24        Page 21 of 39
Appendix B: Estimated Risk-Adjusted Payments, by Health Condition

 For enrollees who had diagnoses reported only on HRAs or HRA-linked chart reviews in the 2022 encounter
 data, we identified HCCs generated by these diagnoses. 33 The estimated 2023 risk-adjusted payments for each
 HCC added by HRAs and HRA-linked chart reviews ranged from $4,102 to $966.9 million.

 Exhibit B-1: Estimated 2023 risk-adjusted payments resulting from diagnoses reported on HRAs
 and HRA-linked chart reviews, by HCC

     HCC           HCC Description                                           Estimated Risk-Adjusted Payments From:
                                                            In-Home        Facility HRAs         HRA-Linked      Telehealth      HRAs and
                                                               HRAs                                   Chart           HRAs      HRA-Linked
                                                                                                    Reviews                          Chart
                                                                                                                                  Reviews1
     Disease Coefficients
     HCC108        Vascular Disease                    $449,445,460        $378,998,488          $126,270,515   $12,150,099    $966,864,562
     HCC59         Major Depressive, Bipolar,          $347,823,621        $357,037,555          $151,455,752   $11,785,322    $868,102,250
                   and Paranoid Disorders
     HCC47         Disorders of Immunity               $269,452,102        $154,895,605          $109,045,565    $5,799,045    $539,192,317
     HCC22         Morbid Obesity                      $214,358,309        $191,247,145           $68,182,478    $4,816,980    $478,604,914
     HCC111        Chronic Obstructive                 $179,166,596        $150,563,075           $74,344,490    $5,159,893    $409,234,055
                   Pulmonary Disease
     HCC75         Myasthenia                          $234,607,699          $76,686,141          $84,797,282    $3,171,926    $399,263,048
                   Gravis/Myoneural
                   Disorders and Guillain-
                   Barré Syndrome/
                   Inflammatory and Toxic
                   Neuropathy
     HCC48         Coagulation Defects and             $188,787,739        $132,521,844           $55,920,502    $5,312,063    $382,542,148
                   Other Specified
                   Hematological Disorders
     HCC18         Diabetes with Chronic               $218,972,306          $78,372,669          $50,262,469    $3,847,087    $351,454,531
                   Complications
     HCC85         Congestive Heart Failure            $150,144,292          $95,259,585          $56,650,960    $3,058,638    $305,113,476
     HCC55         Substance Use Disorder,             $124,770,917        $112,706,642           $49,461,675    $6,584,704    $293,523,938
                   Moderate/Severe, or
                   Substance Use with
                   Complications
     HCC40         Rheumatoid Arthritis and              $88,936,971         $97,563,627          $50,322,381    $2,605,476    $239,428,455
                   Inflammatory Connective
                   Tissue Disease
     HCC23         Other Significant                   $120,995,551          $46,639,219          $47,980,544    $1,535,638    $217,150,953
                   Endocrine and Metabolic
                   Disorders
     HCC96         Specified Heart                       $75,115,883         $61,642,913          $25,388,402    $1,739,813    $163,887,011
                   Arrhythmias
     HCC52         Dementia Without                      $55,730,562         $60,950,598          $27,236,614    $1,677,754    $145,595,528
                   Complications
 1
     Note: Due to rounding, amounts presented may not add up precisely to the totals provided.                      continued on next page

                                                                                                                                             15
         CASE 0:24-cv-01743-JMB-DTS             Doc. 49-11       Filed 11/22/24    Page 22 of 39


HCC      HCC Description                              Estimated Risk-Adjusted Payments From:
                                         In-Home     Facility HRAs   HRA-Linked     Telehealth       HRAs and
                                            HRAs                          Chart          HRAs      HRA-Linked
                                                                        Reviews                          Chart
                                                                                                      Reviews
HCC21    Protein-Calorie               $69,535,306    $44,916,938    $20,185,127    $1,318,266    $135,955,636
         Malnutrition
HCC103   Hemiplegia/Hemiparesis        $43,008,840    $20,615,381    $16,391,746    $1,057,499      $81,073,466
HCC8     Metastatic Cancer and         $30,849,236    $31,459,605    $14,864,583     $822,276       $77,995,700
         Acute Leukemia
HCC88    Angina Pectoris               $42,730,576    $22,062,311    $11,764,412     $743,885       $77,301,185
HCC84    Cardio-Respiratory Failure    $26,039,031    $10,382,052    $12,089,081     $444,861       $48,955,024
         and Shock
HCC138   Chronic Kidney Disease,        $4,565,138    $33,965,578     $8,597,005     $640,425       $47,768,146
         Moderate (Stage 3)
HCC189   Amputation Status, Lower      $25,041,287     $9,126,151    $10,080,453     $331,622       $44,579,513
         Limb/Amputation
         Complications
HCC12    Breast, Prostate, and Other    $5,434,885    $33,228,434     $4,168,367     $511,457       $43,343,144
         Cancers and Tumors
HCC10    Lymphoma and Other            $14,582,936    $17,716,797     $6,939,581     $422,761       $39,662,075
         Cancers
HCC72    Spinal Cord                    $9,325,152    $20,789,183     $7,653,223     $608,081       $38,375,640
         Disorders/Injuries
HCC57    Schizophrenia                 $24,172,735     $6,254,262     $5,914,660     $410,202       $36,751,859
HCC46    Severe Hematological          $13,898,957    $11,764,644     $8,131,866     $822,106       $34,617,573
         Disorders
HCC112   Fibrosis of Lung and Other     $4,446,102    $23,205,703     $5,327,014     $511,708       $33,490,527
         Chronic Lung Disorders
HCC78    Parkinson's and               $16,567,993     $9,433,569     $5,657,828     $346,911       $32,006,301
         Huntington's Diseases
HCC107   Vascular Disease with          $5,586,614    $19,863,773     $3,439,267     $497,723       $29,387,377
         Complications
HCC79    Seizure Disorders and         $12,280,655    $10,995,392     $5,682,999     $401,591       $29,360,638
         Convulsions
HCC161   Chronic Ulcer of Skin,        $10,077,326    $11,944,823     $6,086,542     $303,618       $28,412,310
         Except Pressure
HCC35    Inflammatory Bowel             $9,154,339    $11,625,435     $6,543,364     $331,993       $27,655,131
         Disease
HCC9     Lung and Other Severe          $7,913,969    $12,189,251     $4,312,014     $246,020       $24,661,253
         Cancers
HCC124   Exudative Macular              $8,784,872    $10,069,888     $4,105,846     $297,634       $23,258,240
         Degeneration
HCC51    Dementia With                  $8,987,095     $8,766,680     $3,835,742     $326,870       $21,916,386
         Complications
HCC27    End-Stage Liver Disease        $6,783,347     $9,357,954     $5,208,657     $422,065       $21,772,022
                                                                                       continued on next page




                                                                                                                16
         CASE 0:24-cv-01743-JMB-DTS             Doc. 49-11       Filed 11/22/24    Page 23 of 39


HCC      HCC Description                              Estimated Risk-Adjusted Payments From:
                                         In-Home     Facility HRAs   HRA-Linked     Telehealth        HRAs and
                                            HRAs                          Chart          HRAs       HRA-Linked
                                                                        Reviews                           Chart
                                                                                                       Reviews
HCC11    Colorectal, Bladder, and       $1,798,133    $16,541,206     $1,554,916     $264,206       $20,158,462
         Other Cancers
HCC56    Substance Use Disorder,        $8,228,357     $6,754,944     $4,091,264     $338,908       $19,413,474
         Mild, Except Alcohol and
         Cannabis
HCC106   Atherosclerosis of the         $6,634,418     $6,892,507     $5,177,434     $358,672       $19,063,030
         Extremities with Ulceration
         or Gangrene
HCC19    Diabetes without               $5,542,196     $6,722,041     $4,151,003     $246,374       $16,661,614
         Complication
HCC71    Paraplegia                    $10,253,894     $3,607,313     $2,334,208     $265,958       $16,461,374
HCC28    Cirrhosis of Liver             $5,278,788     $5,811,443     $3,991,972     $164,030       $15,246,233
HCC39    Bone/Joint/Muscle              $5,801,586     $6,715,789     $2,464,231     $210,658       $15,192,264
         Infections/Necrosis
HCC104   Monoplegia, Other              $8,250,466     $3,172,363     $2,372,446     $182,750       $13,978,025
         Paralytic Syndromes
HCC29    Chronic Hepatitis              $5,997,403     $4,813,030     $2,377,450     $193,571       $13,381,454
HCC188   Artificial Openings for        $5,730,662     $3,875,265     $2,767,342     $196,704       $12,569,973
         Feeding or Elimination
HCC100   Ischemic or Unspecified         $252,125     $11,453,815      $402,001      $292,516       $12,400,457
         Stroke
HCC137   Chronic Kidney Disease,        $3,551,613     $5,359,449     $2,635,282     $194,164       $11,740,508
         Severe (Stage 4)
HCC77    Multiple Sclerosis             $3,633,122     $4,620,005     $2,051,661     $170,216       $10,475,005
HCC70    Quadriplegia                   $5,208,069     $2,290,742     $1,733,836     $284,130         $9,516,777
HCC186   Major Organ Transplant or      $3,211,750     $2,602,633     $3,137,020      $34,750         $8,986,153
         Replacement Status
HCC34    Chronic Pancreatitis           $3,517,619     $3,138,792     $2,068,456     $145,882         $8,870,749
HCC169   Vertebral Fractures without      $63,603      $7,334,976      $680,578      $173,357         $8,252,515
         Spinal Cord Injury
HCC158   Pressure Ulcer of Skin with    $2,723,756     $1,543,644     $1,948,712      $53,430         $6,269,542
         Full Thickness Skin Loss
HCC135   Acute Renal Failure             $121,752      $5,320,618      $456,137      $181,649         $6,080,156
HCC122   Proliferative Diabetic         $1,701,407     $2,788,255     $1,143,594     $146,027         $5,779,282
         Retinopathy and Vitreous
         Hemorrhage
HCC82    Respirator Dependence/         $1,857,610     $1,984,754     $1,146,274     $107,192         $5,095,830
         Tracheostomy Status
HCC87    Unstable Angina and             $155,402      $3,483,505     $1,348,893      $95,356         $5,083,155
         Other Acute Ischemic
         Heart Disease
                                                                                        continued on next page


                                                                                                                 17
         CASE 0:24-cv-01743-JMB-DTS            Doc. 49-11       Filed 11/22/24    Page 24 of 39


HCC      HCC Description                             Estimated Risk-Adjusted Payments From:
                                        In-Home     Facility HRAs   HRA-Linked     Telehealth       HRAs and
                                           HRAs                          Chart          HRAs      HRA-Linked
                                                                       Reviews                          Chart
                                                                                                     Reviews
HCC176   Complications of Specified     $267,909      $3,806,856      $604,122       $93,433       $4,772,320
         Implanted Device or Graft
HCC86    Acute Myocardial               $120,083      $4,031,632      $210,514       $74,109        $4,436,338
         Infarction
HCC33    Intestinal                     $167,118      $3,191,104      $432,375       $96,332        $3,886,929
         Obstruction/Perforation
HCC159   Pressure Ulcer of Skin with   $1,099,883     $1,653,041      $791,404       $47,677        $3,592,004
         Partial Thickness Skin Loss
HCC58    Reactive and Unspecified       $929,255        $892,100      $841,204       $96,994        $2,759,553
         Psychosis
HCC136   Chronic Kidney Disease,        $663,267      $1,217,781      $781,087       $50,228        $2,712,363
         Stage 5
HCC1     HIV/AIDS                      $1,145,080       $946,633      $490,726       $24,803        $2,607,242
HCC73    Amyotrophic Lateral           $1,071,846       $809,811      $645,100       $62,687        $2,589,444
         Sclerosis and Other Motor
         Neuron Disease
HCC54    Substance Use with            $1,090,572       $836,473      $479,552       $42,120        $2,448,718
         Psychotic Complications
HCC80    Coma, Brain                    $543,296      $1,325,695      $508,698       $49,996        $2,427,685
         Compression/Anoxic
         Damage
HCC6     Opportunistic Infections       $129,005      $1,759,255      $315,022       $29,036        $2,232,318
HCC17    Diabetes with Acute             $48,283      $1,770,721      $298,093       $37,925        $2,155,022
         Complications
HCC99    Intracranial Hemorrhage         $54,077      $1,844,277      $219,984       $25,294        $2,143,631
HCC76    Muscular Dystrophy             $869,981        $829,620      $369,355       $35,024        $2,103,980
HCC134   Dialysis Status                $872,599        $294,034      $579,117       $20,142        $1,765,891
HCC74    Cerebral Palsy                 $486,615        $788,724      $253,763       $21,490        $1,550,593
HCC170   Hip Fracture/Dislocation        $54,336      $1,143,504      $101,942       $49,442        $1,349,225
HCC157   Pressure Ulcer of Skin with    $463,230        $350,727      $398,941      $111,868        $1,324,765
         Necrosis Through to
         Muscle, Tendon, or Bone
HCC110   Cystic Fibrosis                $574,372        $249,539      $372,000       $53,498        $1,249,409
HCC167   Major Head Injury              $134,861        $838,304      $150,002       $27,908        $1,151,075
HCC173   Traumatic Amputations           $26,792        $949,978       $70,776       $26,633        $1,074,179
         and Complications
HCC60    Personality Disorders          $176,692        $632,655      $187,713       $17,249        $1,014,309
                                                                                      continued on next page




                                                                                                               18
             CASE 0:24-cv-01743-JMB-DTS           Doc. 49-11       Filed 11/22/24    Page 25 of 39


HCC       HCC Description                               Estimated Risk-Adjusted Payments From:
                                           In-Home     Facility HRAs   HRA-Linked     Telehealth       HRAs and
                                              HRAs                          Chart          HRAs       HRA-Linked
                                                                          Reviews                          Chart
                                                                                                         Reviews
HCC2      Septicemia, Sepsis,               $97,508        $547,065      $138,218       $69,503         $852,294
          Systemic Inflammatory
          Response
          Syndrome/Shock
HCC114    Aspiration and Specified          $83,545        $577,722      $135,202       $43,464          $839,933
          Bacterial Pneumonias
HCC115    Pneumococcal Pneumonia,           $38,923        $269,613       $56,147        $8,761          $373,444
          Empyema, Lung Abscess
HCC162    Severe Skin Burn or               $11,730         $67,040       $10,985             $0           $89,755
          Condition
HCC166    Severe Head Injury                  $6,430        $34,466            $0             $0           $40,896
HCC83     Respiratory Arrest                  $3,256        $23,649            $0        $2,987            $29,893
Disease Interactions
HCC47_         Immune                    $76,083,887    $41,101,759    $26,867,505    $1,272,171    $145,325,321
gCancer        Disorders*Cancer
CHF_           Congestive Heart          $39,523,130    $25,726,629    $13,094,293     $865,053       $79,209,105
gCopdCF        Failure*Chronic
               Obstructive Pulmonary
               Disease
HCC85_         Congestive Heart          $26,167,774    $26,918,623    $11,273,423     $867,561       $65,227,381
gRenal_v24     Failure*Renal
Diabetes_      Congestive Heart          $35,469,501    $15,731,310     $9,115,017     $615,038       $60,930,865
CHF            Failure* Diabetes
HCC85_         Congestive Heart          $23,622,218    $10,144,555     $6,445,076     $362,823       $40,574,672
HCC96          Failure*Specified Heart
               Arrythmias
gSubstance     Substance Abuse           $23,216,867     $9,417,621     $6,987,511     $943,865       $40,565,863
UseDisorder    Group*Psychiatric
_gPsych
gCopdCF_       Cardiorespiratory         $12,187,187     $6,551,516     $4,701,072     $299,523       $23,739,298
CARD_RESP_     Failure*Chronic
FAIL           Obstructive Pulmonary
               Disease
SCHIZO-        Schizophrenia*Chronic        $44,676         $38,020       $20,434        $7,726          $110,856
PHRENIA_       Obstructive Pulmonary
gCopdCF        Disease
SCHIZO-        Schizophrenia*Seizure        $21,967         $11,378       $14,036        $5,569            $52,951
PHRENIA_       Disorders and
SEIZURES       Convulsions
gCopdCF_       Chronic Obstructive          $15,267          $9,751        $4,376             $0           $29,394
ASP_           Pulmonary
SPEC_BACT_     Disease*Aspiration
PNEUM          and Specified Bacterial
               Pneumonias
                                                                                        continued on next page
                                                                                                                 19
               CASE 0:24-cv-01743-JMB-DTS                       Doc. 49-11             Filed 11/22/24        Page 26 of 39



 HCC               HCC Description                                    Estimated Risk-Adjusted Payments From:
                                                      In-Home        Facility HRAs        HRA-Linked          Telehealth        HRAs and
                                                         HRAs                                  Chart               HRAs        HRA-Linked
                                                                                             Reviews                                Chart
                                                                                                                                  Reviews
 SCHIZO-       Schizophrenia*                           $13,685              $9,838             $3,899             $1,333         $28,755
 PHRENIA_      Congestive Heart
 CHF           Failure
 ART_          Artificial Openings for                   $3,180              $3,507             $6,136                  $0           $12,824
 OPENINGS_ Feeding or
 PRESSURE_     Elimination*Pressure
 ULCER         Ulcer
 SEPSIS_       Sepsis*Artificial                              $0             $5,323             $1,559                  $0            $6,883
 ARTIF_        Openings for Feeding
 OPENINGS      or Elimination
 Disabled/Disease Interactions
 DISABLED_         Disabled, Congestive                 $19,350              $9,426             $5,396                  $0           $34,172
 HCC85             Heart Failure
 DISABLED_         Disabled, Chronic                    $10,048              $2,852                  $0                 $0           $12,901
 HCC161            Ulcer of the Skin,
                   Except Pressure Ulcer
 DISABLED_         Disabled, Pressure                   $10,422                   $0                 $0                 $0           $10,422
 PRESSURE_         Ulcer
 ULCER
 DISABLED_         Disabled, Bone/Joint                  $5,161                   $0                 $0                 $0            $5,161
 HCC39             Muscle
                   Infections/Necrosis
 DISABLED_         Disabled,                                  $0                  $0            $4,102                  $0            $4,102
 HCC77             Opportunistic
                   Infections
                                   Total         $3,455,232,997      $2,669,010,125      $1,292,319,589       $91,823,780     $7,508,386,491
Source: OIG analysis of 2022 MA encounter data from CMS’s IDRC.
Note: For 4 of the 108 HCCs from the 2020 CMS-HCC model, there were no risk-adjusted payments that resulted from diagnoses reported only on HRAs
or HRA-linked chart reviews.




                                                                                                                                               20
             CASE 0:24-cv-01743-JMB-DTS                        Doc. 49-11        Filed 11/22/24   Page 27 of 39
Appendix C: Top MA Companies


 Twenty MA companies each had a share of payments from HRAs and HRA-linked chart reviews that exceeded
 their percentage of enrollees by more than 25 percent. Taken together, these 20 MA companies generated
 80 percent ($6 billion of $7.5 billion) of the estimated 2023 risk-adjusted payments from HRAs and HRA-linked
 chart reviews while covering only half of MA enrollees. One top MA company, UnitedHealth Group, Inc., stood
 out from its peers, especially in its use of in-home HRAs and HRA-linked chart reviews to generate
 risk-adjusted payments.

      Exhibit C-1: The top 20 MA companies with a disproportionate share of estimated 2023
      risk-adjusted payments from HRAs and HRA-linked chart reviews

                                                                        Estimated Risk-Adjusted Payments From HRAs
       MA Company
                                                                                       and HRA-Linked Chart Reviews
       AIDS Healthcare Foundation                                                                        $2,373,994

       Alignment Healthcare USA, LLC                                                                    $59,960,609

       Associated Care Ventures, Inc.                                                                    $1,703,317

       Community Care, Inc.                                                                               $193,985

       First Sacramento Capital Funding LLC                                                               $187,090

       HealthPartners, Inc.                                                                             $15,857,479

       Humana Inc.                                                                                   $1,709,202,266

       Independent Health Association, Inc.                                                             $38,729,065

       Intermountain Health Care, Inc.                                                                  $18,538,874

       ISNP Holdings, LLC                                                                                 $160,789

       Marquis Companies I, Inc.                                                                          $236,123

       Missouri Healthcare Advisors, LLC                                                                  $272,233

       Orange County Health Authority                                                                     $770,131
       Renown Health                                                                                     $7,171,111

       Scan Group                                                                                      $127,644,675

       The Cigna Group                                                                                 $236,951,359

       Triton Health Systems, L.L.C.                                                                    $23,711,322

       UnitedHealth Group, Inc.                                                                      $3,726,358,748

       Visiting Nurse Service Of New York                                                                $1,822,637

       Zing Health Consolidator, Inc                                                                     $1,356,993

                                                         TOTAL                                       $5,973,202,800
                                                                                                                      21
      Source: OIG analysis of 2022 MA encounter data from CMS’s IDRC.
                CASE 0:24-cv-01743-JMB-DTS                          Doc. 49-11           Filed 11/22/24            Page 28 of 39
Appendix D: MA Enrollees’ Demographic Characteristics


 For MA enrollees included in our review, we compared the percentage of 2022 MA enrollees with certain
 demographic characteristics to the percentage of enrollees with these characteristics who also had diagnoses
 reported only on HRAs or HRA-linked chart reviews that resulted in 2023 risk-adjusted payments.

 Exhibit D-1: Comparison of 2022 MA enrollees with diagnoses reported only on HRAs or HRA-
 linked chart reviews that generated payment, by demographic characteristic

  Eligibility for Coverage                   Percent of 2022 MA                       Percent of 2022 MA Enrollees With Diagnoses
                                                        Enrollees                      Reported Only on HRAs or HRA-Linked Chart
                                                                                                  Reviews That Generated Payment
  Eligible for Medicare due                                        22%                                                                  28%
  to disability
  Eligible for Medicare and                                        19%                                                                  26%
  Medicaid
  Eligible for the Part D                                          19%                                                                  26%
  low-income subsidy
  Geographic Location                        Percent of 2022 MA                       Percent of 2022 MA Enrollees With Diagnoses
                                                        Enrollees                      Reported Only on HRAs or HRA-Linked Chart
                                                                                                  Reviews That Generated Payment
  Rural                                                            14%                                                                  15%

  Urban                                                            86%                                                                  85%

  Race and Ethnicity1                        Percent of 2022 MA                       Percent of 2022 MA Enrollees With Diagnoses
                                                       Enrollees2                      Reported Only on HRAs or HRA-Linked Chart
                                                                                                  Reviews That Generated Payment
  American Indian/Alaska                                           <1%                                                                  <1%
  Native
  Asian/Pacific Islander                                             4%                                                                  3%

  Black (or African                                                12%                                                                  16%
  American)
  Hispanic                                                         10%                                                                  10%

  Non-Hispanic White                                               71%                                                                  68%

  Other                                                            <1%                                                                  <1%

 Source: OIG analysis of 2022 MA encounter data from CMS’s IDRC.
 1
   These percentages may not sum to 100 percent due to rounding and unknown or missing values.
 2
   For 2 percent of 2022 MA enrollees reviewed, the Research Triangle Institute Race Code value in the IDRC was “unknown” or missing.




                                                                                                                                          22
    CASE 0:24-cv-01743-JMB-DTS              Doc. 49-11      Filed 11/22/24      Page 29 of 39




DATE:          September 5, 2024


TO:            Juliet T. Hodgkins
               Principal Deputy Inspector General

FROM:          Chiquita Brooks-LaSure
               Administrator

SUBJECT:       Office of Inspector General (OIG) Draft Data Brief: Medicare Advantage:
               Questionable Use of Health Risk Assessments Continues To Drive Up Payments
               to Plans by Billions, (OEI-03-23-00380)

The Centers for Medicare & Medicaid Services (CMS) appreciates the opportunity to review and
comment on the Office of Inspector General’s (OIG) draft report regarding the accuracy of
diagnoses that Medicare Advantage (MA) organizations submit to CMS for risk-adjusted
payments and the role of Health Risk Assessments (HRAs) in this process. CMS is committed to
ensuring that diagnoses used in risk adjustment are accurate and HRAs are used appropriately to
improve care.

CMS pays each MA organization a monthly per-person amount for each beneficiary enrolled in
its plan (or plans). The per-person amount reflects an adjustment for the risk of the beneficiary
(referred to as a “beneficiary risk score”), which takes into account differences in health status
and demographic characteristics between enrolled beneficiaries.

In addition to demographic factors, to account for health status, the beneficiary risk score is
calculated with diagnoses that the MA organizations report to CMS. These risk-adjusted
payments ensure that a plan is paid more for a sicker enrollee than a healthier enrollee, which
helps to ensure that MA organizations are paid appropriately to provide the services that their
enrollees need.

Diagnosis codes used for risk adjustment must meet specific criteria, including that the diagnosis
is documented in the medical record. Diagnosis codes reported by MA organizations are reported
to the Encounter Data System, where MA organizations submit a larger set of information on
each service provided. CMS allows MA organizations to use activities described as “health risk
assessments” (HRAs), described in more detail below, as a source of diagnoses for MA
beneficiaries used in the calculation of risk-adjusted payments.

HRAs, used in both MA and traditional Medicare (i.e., Medicare Parts A and B), are intended to
be a tool for early identification of health risks to improve beneficiaries’ health outcomes
through care coordination. Physicians or other health care professionals conduct HRAs to collect
information from beneficiaries about their health status, health risks, and daily activities. In the
MA program, HRAs are generally part of annual wellness visits and are often conducted during
other visits in non-clinical settings. In recent years, HRA-type assessments, or visits that do not



                                                                                                       23
    CASE 0:24-cv-01743-JMB-DTS                  Doc. 49-11       Filed 11/22/24        Page 30 of 39




incorporate the use of a formal HRA but may have the same purpose of identifying diagnoses
that may not be used for follow up care, have been conducted in the home. Diagnoses associated
with these assessments submitted by MA organizations are eligible for use in risk adjustment
when they are documented in the medical record and are associated with a risk-adjustment
allowable procedure code.

All diagnoses used for risk adjustment may be subject to Risk Adjustment Data Validation
(RADV) audits to ensure they meet program rules. CMS is committed to ensuring that diagnoses
that MA organizations submit for risk adjustment, including those associated with HRAs
conducted in the home, are accurate, and can be validated through medical record reviews. CMS
has already taken action to target plans at higher risk for improper payment. For example, CMS
uses contract-specific RADV audits to validate that diagnoses used for risk adjustment meet
program rules. RADV audits measure the accuracy of the plan-submitted diagnostic information
through medical record and coding abstraction and uses the results of these audits to identify and
recover overpayments from individual MA plans. For purposes of RADV, results of HRA
screening portions are not considered confirmed diagnoses by MA organizations unless
supported by the final assessment documentation according to ICD-10-CM coding guidelines
and AHA coding clinics.1 To assess potential risk of overpayments, CMS takes into
consideration various factors, including results of past RADV audits. Because RADV contract
selection focuses on the top decile of high-risk enrollees according to MA improper payment
prediction models, our current methodology already captures plans at high risk for improper
payment. The results of these audits are used to identify and recover overpayments for individual
MA organizations.

CMS has also issued guidance to ensure MA organizations are utilizing HRAs appropriately. In
the CY 2016 Rate Announcement, CMS established guidance encouraging plans to adopt, as a
best practice, a core set of components for the in-home HRAs they perform, including
administration in accordance with the Center for Disease Control and Prevention’s (CDC) model
HRA framework. CMS noted that plans’ adoption of comprehensive in-home HRAs should
provide additional information to support care planning and care coordination and could lead to
improved enrollee health outcomes.

In addition to these efforts, CMS continues to consider the role HRAs play in the MA program,
both to improve the care provided, as well as how MA organizations use these activities to
identify enrollees’ diagnoses. MA organizations often use these assessments to capture diagnoses
that were recorded in a prior year, and to identify new diagnoses. We recognize that there is
increasing concern that these types of assessments, especially those conducted in the home,
could lead to increased MA coding growth. We also recognize that this practice is not used
uniformly throughout the industry, leading to potential anti-competitive concerns.

CMS will continue to consider the relationship of HRAs to the care provided to beneficiaries.
While home visits may be valuable in meeting beneficiaries’ care and social needs and

1
 CMS abstracts diagnosis codes in accordance with International Classification of Diseases, Tenth Revision,
Clinical Modification (ICD-10-CM) Guidelines for Coding and Reporting: https://www.cdc.gov/nchs/icd/icd-10-
cm/index.html, and Coding Clinic for ICD-10-CM and ICD-10-PCS quarterly newsletters published by American
Hospital Association's Central Office on ICD-10-CM and ICD-10-PCS.




                                                                                                              24
    CASE 0:24-cv-01743-JMB-DTS             Doc. 49-11      Filed 11/22/24      Page 31 of 39




identifying early interventions, CMS recognizes the concern that these visits may often be
primarily for assessments that lead to diagnoses that never result in early intervention, follow-up
care, or care coordination, in the home or otherwise. Any evaluation of concerns and exploration
of policy solutions around HRAs needs to address the complexities of whether it is possible to
identify diagnoses from home visits that are primarily used for coding assessments versus home
visits where the primary purpose is treatment, and if so, how these differences can be identified.
As there is no single procedure code for HRAs that is uniformly used, any evaluation of HRAs
would entail looking at procedure codes for other types of visits, as was the case in the OIG’s
report. For example, the OIG looked at all procedure codes for annual wellness visits, initial
preventive physical exams, and evaluation and management (E&M) home visits. Further, there
might be ongoing changes in how these procedure codes are used over time, and it might be
challenging to distinguish whether visits are primarily for coding purposes versus services that
are intended as assessment for further treatment, or for treatment itself. OIG also excluded
individuals from the analysis who had more than one of the identified procedure codes, which
given the need to assess visit purposes, might be omitting certain HRA-like visits. As we further
consider this important issue, CMS will need to carefully explore the purpose of the different
types of visits made in the home as well as the extent to which these home visits generate
diagnoses for risk adjustment without leading to necessary follow up care or care coordination.

OIG’s recommendations and CMS' responses are below.

OIG Recommendation
CMS should restrict the use of diagnoses reported only on in-home HRAs or chart reviews that
are linked to in-home HRAs for risk-adjusted payments.

CMS Response
CMS does not concur with this recommendation. CMS requires MA organizations to submit all
diagnoses codes through encounter data, and CMS allows MA organizations to use HRAs as a
source of diagnoses used for the calculation of risk adjusted payments, as long as those diagnoses
meet CMS’s criteria for risk adjustment eligibility. Although OIG has expressed concern that these
diagnoses may be inaccurate, they have not conducted medical record reviews of the diagnoses that
came from visits that may have contained an HRA and have not concluded that these diagnoses are
not accurate.

Additionally, CMS believes the recommendation does not adequately address the complexities of
identifying home visits where the primary purpose is for coding assessment or whether the primary
purpose is for treatment. As such, the recommendation does not address how to classify different
types of home visits, whether they include an in-home “health risk assessment” or not. CMS will
take OIG’s recommendation under consideration as part of our ongoing process to determine policy
options for future years. CMS will continue its efforts to conduct RADV audits to inform our
understanding of the accuracy of these diagnoses. If CMS determines that diagnosis codes from
such visits should be excluded from risk adjusted payments or that other requirements need to be
met for them to be a source of diagnoses towards payment, we note that there are many important
issues to address, such as whether to exclude some, and not all, in-home services as a source of
diagnoses for risk adjustment. CMS believes that Medicare beneficiaries should have access to care




                                                                                                      25
    CASE 0:24-cv-01743-JMB-DTS             Doc. 49-11     Filed 11/22/24      Page 32 of 39




that is appropriately provided in the home setting and we would want to take into account this
consideration if we were to contemplate a policy of not using diagnoses from home visits. Since the
E&M codes identified by OIG as potential HRAs can cover a wide variety of services, we would
need to assess the extent to which the result may disincentivize the provision of home-based
services, for example, a scenario where an enrollee is receiving treatment in the home and the
provider identifies an emerging condition that should be treated. Another issue is how to identify
visits that do not incorporate the use of a formal HRA, but may have the same purpose of
identifying diagnoses that may not be used for follow up care, such that excluding only HRAs may
not achieve what is intended.

OIG Recommendation
CMS should conduct audits to validate diagnoses reported only on in-home HRAs and HRA-
linked chart reviews.

CMS Response
In the PY 2018 RADV audits, CMS will flag medical records that include HRAs during the
medical record review process to gather preliminary data on whether such records are less likely
to validate an audited hierarchical condition category (HCC). Using this assessment and other
relevant analyses, CMS will then determine if a representative or targeted sample of diagnoses
derived from in-home HRAs, and HRA-linked chart reviews is appropriate for future RADV
audits. As part of CMS’s longstanding collaboration with HHS-OIG, which also conducts its
own RADV-like audits of MAOs, we will also share these findings so that the OIG sampling
methodologies can be similarly adjusted to account for areas of risk.

OIG Recommendation
CMS should determine whether select HCCs that drove payments from in-home HRAs and
HRA-linked chart reviews may be more susceptible to misuse among MA companies.

CMS Response
CMS concurs with the recommendation, has implemented this recommendation, and considers it
closed. In its description of its recommendation, OIG states that CMS should determine whether
diagnoses for select HCCs that drove payments from in-home HRAs and HRA-linked chart
reviews are particularly subject to intentional or unintentional coding variation or inappropriate
coding by health plans or providers, consistent with one of the principles (Principle 10) that CMS
uses to guide its HCC diagnostic classification system. The OIG report provides findings based
on the 2020 CMS-HCC risk adjustment model, which was the risk adjustment model used to
determine payments for MA organizations from CY 2020 through CY 2023. As finalized in the
CY 2024 Rate Announcement, CMS is phasing out the 2020 CMS-HCC risk adjustment model
and phasing in the updated 2024 CMS-HCC risk adjustment model, which addresses this
recommendation. As part of this update, CMS rebuilt the CMS-HCC condition categories using
the International Classification of Diseases, Tenth Revision (ICD-10) codes. This clinical
reclassification involved evaluating all HCCs, including those mentioned in the OIG’s
recommendation, and adjustments were made so that diagnoses that are not consistently accurate
predictors of costs, such as diagnosis codes that are duplicative or discretionary, were excluded
from the model or grouped into more meaningful condition categories.




                                                                                                      26
    CASE 0:24-cv-01743-JMB-DTS             Doc. 49-11       Filed 11/22/24     Page 33 of 39




CMS additionally conducted a focused assessment on conditions more subject to coding
variation, consistent with Principle 10 of the longstanding model principles. Secondary to this
assessment, CMS made model updates, such as no longer including certain HCCs in the model
and the application of HCC constraints, to limit the sensitivity of the model to coding variation,
thereby maintaining the integrity of the condition categories in the model and their ability to
accurately predict costs. Through this reclassification and assessment, and in consultation with
clinical experts, all HCCs were evaluated in alignment with the risk adjustment principles
(including Principle 10), resulting in HCCs (along with underlying diagnoses) being removed,
restructured, or added. Because CMS began implementing this new model in CY 2024 and laid
out a schedule to finish implementing in CY 2026, we consider this recommendation closed.

CMS thanks OIG for their efforts on this issue and looks forward to working with OIG on this and
other issues in the future.




                                                                                                     27
         CASE 0:24-cv-01743-JMB-DTS             Doc. 49-11       Filed 11/22/24     Page 34 of 39
Acknowledgements and Contact

                Jacqualine Reid served as the team leader for this study. Sadie Ellington in the Office of
                Evaluation and Inspections also conducted the study. Office of Evaluation and Inspections
                headquarters staff who provided support include Kristen Calille, Robert Gibbons, Lyndsay
                Hopper, and Althea Hosein.

                We would also like to acknowledge the contributions of other OIG staff, including Tanaz
                Dutia and Logan Kingma.

                This report was prepared under the direction of Joanna Bisgaier, Regional Inspector General
                for Evaluation and Inspections in the Philadelphia Regional Office; Edward Burley, Deputy
                Regional Inspector General; and Amy Sernyak, Assistant Regional Inspector General.

      Contact

                To obtain additional information concerning this report, contact the Office of Public Affairs at
                Public.Affairs@oig.hhs.gov. OIG reports and other information can be found on the OIG
                website at oig.hhs.gov.

                Office of Inspector General
                Department of Health and Human Services
                330 Independence Avenue, SW
                Washington, DC 20201




                                                                                                              28
               CASE 0:24-cv-01743-JMB-DTS                       Doc. 49-11         Filed 11/22/24           Page 35 of 39
Endnotes


 1 An MA company owns or has controlling interest in one or more MA organizations (MAOs) that contract with CMS to provide

 coverage to Medicare enrollees. We use the term “MA company” to summarize the activities of MAOs.
 2 MA companies may also offer prescription drug coverage under Medicare Part D.


 3 CMS, Financial Report FY 2023, November 2023, p. 49. Accessed at https://www.cms.gov/files/document/cms-financial-report-fiscal-
 year-2023.pdf on Feb. 9, 2024. CMS, Monthly Contract and Enrollment Summary Report: December 2023. Accessed at
 https://www.cms.gov/research-statistics-data-and-systems/statistics-trends-and-reports/mcradvpartdenroldata/monthly/contract-
 summary-2023-12 on Feb. 9, 2024.
 4 To be eligible for risk adjustment, a diagnosis must be: (1) documented in a medical record from a hospital inpatient stay, hospital

 outpatient visit, or visit with a physician or other eligible health care professional during the prior year; (2) documented as a result of a
 face-to-face visit between the enrollee and the provider; and (3) submitted to CMS on an encounter record by the final risk-adjustment
 data submission deadline. To identify diagnoses that meet these eligibility criteria, CMS extracts, or filters, diagnoses in the encounter
 data based on whether the encounter record contains an acceptable procedure code (i.e., Current Procedural Terminology or Healthcare
 Common Procedure Coding System code) and/or type of bill code.
 5 Specifically, the relative factors represent the marginal expected cost of an HCC relative to the average expected cost in the Medicare

 fee-for-service program.
 6 CMS adjusts risk scores by normalization factors and coding adjustment factors prior to calculating payments.   An MA plan’s base
 payment rate is the plan’s standardized bid adjusted by the county Intra-Service Area Rate factor for the enrollee’s county of residence.
 7 CMS, Part C Improper Payment Measure (Part C IPM) Fiscal Year 2023 (FY 2023) Payment Error Rate Results, p. 1.
                                                                                                               Accessed at
 https://www.cms.gov/files/document/fy-2023-medicare-part-c-error-rate-findings-and-results.pdf-0 on Apr. 11, 2024.
 8 Billions in Estimated Medicare Advantage Payments From Chart Reviews Raise Concerns (OEI-03-17-00470) December 2019. Billions in
 Estimated Medicare Advantage Payments From Diagnoses Reported Only on Health Risk Assessments Raise Concerns (OEI-03-17-00471)
 September 2020. Some Medicare Advantage Companies Leveraged Chart Reviews and Health Risk Assessments To Disproportionately
 Drive Payments (OEI-03-17-00474) September 2021. Medicare Advantage Compliance Audit of Specific Diagnosis Codes That SelectCare
 of Texas, Inc. (Contract H4506) Submitted to CMS (A-06-19-05002) November 2023. Toolkit To Help Decrease Improper Payments in
 Medicare Advantage Through the Identification of High-Risk Diagnosis Codes (A-07-23-01213) December 2023.

 9 CMS, “Announcement of Calendar Year (CY) 2016 Medicare Advantage Capitation Rates and Medicare Advantage and Part D Payment

 Policies and Final Call Letter,” Apr. 6, 2015, pp. 144-146. Accessed at https://www.cms.gov/Medicare/Health-
 Plans/MedicareAdvtgSpecRateStats/Downloads/Announcement2016.pdf on Apr. 11, 2024. Government Accountability Office (GAO),
 Medicare Advantage: Limited Progress Made to Validate Encounter Data Used to Ensure Proper Payments, January 2017, p. 18. Accessed
 at https://www.gao.gov/assets/gao-17-223.pdf on Feb. 9, 2024. Medicare Payment Advisory Commission (MedPAC), Report to the
 Congress: Medicare Payment Policy, March 2023, p. 325. Accessed at https://www.medpac.gov/wp-
 content/uploads/2023/03/Mar23_MedPAC_Report_To_Congress_v2_SEC.pdf on Apr. 11, 2024.
 10 United States Department of Justice (DOJ), Cigna Group to Pay $172 Million to Resolve False Claims Act Allegations, Sept. 30, 2023.

 Accessed at https://www.justice.gov/opa/pr/cigna-group-pay-172-million-resolve-false-claims-act-allegations on Feb. 13, 2024. DOJ,
 Martin’s Point Health Care Inc. to Pay $22,485,000 to Resolve False Claims Act Allegations, July 31, 2023. Accessed at
 https://www.justice.gov/opa/pr/martins-point-health-care-inc-pay-22485000-resolve-false-claims-act-allegations on Feb. 13, 2024.
 11 CMS does not require MA companies to flag diagnosis codes submitted to the Encounter Data System that result from HRAs.

 However, CMS requires MA companies to flag chart review submissions.
 12 MA companies must make a “best-effort” attempt to conduct an initial and annual HRA to assess each enrollee’s health care needs.

 42 CFR § 422.112(b)(4)(i). CMS, Medicare Managed Care Manual, Chapter 4 – Benefits and Beneficiary Protections, Pub. No. 100-16 (Rev.
 121, Apr. 22, 2016), ch. 4, § 110. Accessed at https://www.cms.gov/regulations-and-
 guidance/guidance/manuals/downloads/mc86c04.pdf on April 3, 2024. MA companies offering Special Needs Plans (SNPs) must
 conduct initial and annual HRAs of individuals’ physical, psychosocial, and functional needs using a comprehensive risk assessment tool
 that CMS may review during oversight activities. Social Security Act, § 1859(f)(5)(A)(ii)(I). 42 CFR § 422.101(f)(1)(i).




                                                                                                                                          29
              CASE 0:24-cv-01743-JMB-DTS                      Doc. 49-11         Filed 11/22/24          Page 36 of 39



13 According to CMS, HRA-type assessments, or visits that do not incorporate the use of a formal HRA but may have the same purpose

of identifying diagnoses, have been conducted in MA enrollees’ homes in recent years. For this evaluation, we use the term HRA to
refer to formal HRAs and HRA-type assessments.
14 MedPAC, Report to the Congress: Medicare Payment Policy, March 2016, p. 350.
                                                                         Accessed at https://www.medpac.gov/wp-
content/uploads/2021/10/march-2016-report-to-the-congress-medicare-payment-policy.pdf on Apr. 11, 2024.
15 GAO, Medicare Advantage: Fundamental Improvements Needed in CMS’s Effort to Recover Substantial Amounts of Improper Payments,

April 2016, p. 13. Accessed at https://www.gao.gov/assets/d1676.pdf on Apr. 3, 2024.
16 CMS bases risk-adjusted payments for a given year on diagnoses from specified face-to-face visits provided to the enrollee in the

previous year. Thus, we estimated the financial impact of HRAs and HRA-linked chart reviews on 2023 MA payments by using the
encounter data submitted by MA companies for services provided to enrollees in 2022.
17 The amounts of estimated risk-adjusted payments generated by diagnoses reported only on chart reviews that were linked to in-

home HRAs, facility-based HRAs, or telehealth HRAs were $738.9 million, $546 million, and $7.4 million, respectively.
18 The Part D low-income subsidy provides Federal assistance with prescription drug costs to eligible Medicare enrollees whose income

and resources are limited. CMS, Guidance to States on the Low-Income Subsidy, February 2009. Accessed at https://www.cms.gov
/medicare/eligibility-and-enrollment/lowincsubmedicareprescov/downloads/statelisguidance021009.pdf on Mar. 21, 2024.
19 Of these eight companies, five companies only offered SNPs for 2022.One of the other eight companies also offered a non-SNP
plan. Two of the remaining eight companies also offered programs of all-inclusive care for the elderly (PACE) plans or a demonstration
plan. The PACE and demonstration plans were not included in our review.
20 MA companies offering SNPs must conduct initial and annual HRAs of individuals’ physical, psychosocial, and functional needs using

a comprehensive risk assessment tool that CMS may review during oversight activities. Social Security Act, § 1859(f)(5)(A)(ii)(I). 42 CFR §
422.101(f)(1)(i). CMS, Medicare Managed Care Manual, Chapter 16-B – Special Needs Plans, Pub. No. 100-16 (Rev. 130, Jan. 12, 2024),
ch.16-b, § 70.2. Accessed at https://www.cms.gov/Regulations-and-Guidance/Guidance/Manuals/Downloads/mc86c16b.pdf on Mar. 27,
2024. CMS, Medicare Managed Care Manual, Chapter 5 – Quality Assessment, Pub. No. 100-16 (Rev, 117, Aug. 8, 2014), ch.5, § 20.2.
Accessed at https://www.cms.gov/Regulations-and-Guidance/Guidance/Manuals/Downloads/mc86c05.pdf on Mar. 27, 2024.
21 CMS, “Announcement of Calendar Year (CY) 2024 Medicare Advantage Capitation Rates and Medicare Advantage and Part D Payment

Policies,” Mar. 31, 2023, pp. 90-92. Accessed at https://www.cms.gov/files/document/2024-announcement-pdf.pdf on Apr. 6, 2024.

22 CMS, Report to Congress: Risk Adjustment in Medicare Advantage, December 2021, pp. 14-16.    Accessed at
https://www.cms.gov/files/document/report-congress-risk-adjustment-medicare-advantage-december-2021.pdf on Apr. 30, 2024.
Gregory C. Pope et al., Diagnostic Cost Group Hierarchical Condition Category Models for Medicare Risk Adjustment: Final Report,
December 2000, pp. 42-46. Accessed at https://www.cms.gov/Research-Statistics-Data-and-Systems/Statistics-Trends-and-
Reports/Reports/downloads/pope_2000_2.pdf on Apr. 30, 2024.
23 Billions in Estimated Medicare Advantage Payments From Diagnoses Reported Only on Health Risk Assessments Raise Concerns (OEI-03-

17-00471) September 2020.
24 Billions in Estimated Medicare Advantage Payments From Diagnoses Reported Only on Health Risk Assessments Raise Concerns (OEI-03-

17-00471) September 2020.
25 Billions in Estimated Medicare Advantage Payments From Diagnoses Reported Only on Health Risk Assessments Raise Concerns (OEI-03-

17-00471) September 2020.

26 Billions in Estimated Medicare Advantage Payments From Chart Reviews Raise Concerns (OEI-03-17-00470) December 2019.


27 Some Medicare Advantage Companies Leveraged Chart Reviews and Health Risk Assessments To Disproportionately Drive Payments

(OEI-03-17-00474) September 2021.
28 CMS’s deadline for submission of 2022 risk-adjustment data was Jan. 31, 2024.   We extracted MA encounter data in February 2024.




                                                                                                                                       30
              CASE 0:24-cv-01743-JMB-DTS                       Doc. 49-11          Filed 11/22/24          Page 37 of 39



29 We identified annual wellness visits using procedure codes G0438 and G0439, initial preventive physical exams using procedure code

G0402, and evaluation and management home visits using procedure codes 99341-99345 and 99347-99350. For evaluation and
management home visits, we also ensured that the place of service was the enrollee’s home.
30 We identified chart reviews as records with: (1) a claim type code of 4700 or 4800, (2) a chart review switch value of “Y,” and (3) a chart

review effective switch of “Y.”
31 For enrollees with diagnoses reported on HRAs and HRA-linked chart reviews with a claim through date between Oct. 1, 2022, and

December 31, 2022, we also identified all encounter records that had a claim through date between Jan. 1, 2023, and Mar. 31, 2023.
32 CMS, Report to Congress: Improving Medicare Post-Acute Care Transformation (IMPACT) Act of 2014 Strategic Plan for Accessing Race

and Ethnicity Data, Jan. 5, 2017. Accessed at https://www.cms.gov/About-CMS/Agency-Information/OMH/Downloads/Research-
Reports-2017-Report-to-Congress-IMPACT-ACT-of-2014.pdf on Mar. 21, 2024. Inaccuracies in Medicare’s Race and Ethnicity Data
Hinder the Ability To Assess Health Disparities (OEI-02-21-00100) June 2022.
33 We used CMS’s 2020 CMS-HCC Model to identify HCCs generated by diagnoses reported only on HRAs and HRA-linked chart

reviews. CMS, “Announcement of Calendar Year (CY) 2020 Medicare Advantage Capitation Rates and Medicare Advantage and Part D
Payment Policies and Final Call Letter,” Apr. 1, 2019, p. 75-80. Accessed at https://www.cms.gov/Medicare/Health-Plans
/MedicareAdvtgSpecRateStats/Downloads/Announcement2020.pdf on July 8, 2022.




                                                                                                                                          31
           CASE 0:24-cv-01743-JMB-DTS             Doc. 49-11      Filed 11/22/24   Page 38 of 39


Report Fraud, Waste,
and Abuse
OIG Hotline Operations accepts tips and complaints from all sources about
potential fraud, waste, abuse, and mismanagement in HHS programs. Hotline
tips are incredibly valuable, and we appreciate your efforts to help us stamp
out fraud, waste, and abuse.



                              TIPS.HHS.GOV
                              Phone: 1-800-447-8477
                              TTY: 1-800-377-4950


Who Can Report?
Anyone who suspects fraud, waste, and abuse should report their concerns
to the OIG Hotline. OIG addresses complaints about misconduct and
mismanagement in HHS programs, fraudulent claims submitted to Federal
health care programs such as Medicare, abuse or neglect in nursing homes,
and many more. Learn more about complaints OIG investigates.

How Does it Help?
Every complaint helps OIG carry out its mission of overseeing HHS programs
and protecting the individuals they serve. By reporting your concerns to the
OIG Hotline, you help us safeguard taxpayer dollars and ensure the success of
our oversight efforts.

Who Is Protected?
Anyone may request confidentiality. The Privacy Act, the Inspector General
Act of 1978, and other applicable laws protect complainants. The Inspector
General Act states that the Inspector General shall not disclose the identity of
an HHS employee who reports an allegation or provides information without
the employee’s consent, unless the Inspector General determines that
disclosure is unavoidable during the investigation. By law, Federal employees
may not take or threaten to take a personnel action because of
whistleblowing or the exercise of a lawful appeal, complaint, or grievance
right. Non-HHS employees who report allegations may also specifically
request confidentiality.




                                                                                                   1
         CASE 0:24-cv-01743-JMB-DTS    Doc. 49-11   Filed 11/22/24   Page 39 of 39



Stay In Touch
Follow HHS-OIG for up to date news and publications.

                                    OIGatHHS
          HHS Office of Inspector General
Subscribe To Our Newsletter
OIG.HHS.GOV

Contact Us
For specific contact information, please visit us online.
U.S. Department of Health and Human Services
Office of Inspector General
Public Affairs
330 Independence Ave., SW
Washington, DC 20201

Email: Public.Affairs@oig.hhs.gov




                                                                                     1
